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8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                    SOUTHERN DIVISION
11                                                )     Case No.: SACV 21-01585-CJC(DFMx)
      DONALD WAKEFIELD,                           )
12                                                )
                                                  )
13
                   Plaintiff,                     )     ORDER GRANTING PLAINTIFF’S
                                                  )     MOTION TO DISMISS COUNT III OF
14
            v.                                    )     DEFENDANTS’COUNTERCLAIMS
                                                  )     AND STRIKE AFFIRMATIVE
15                                                )     DEFENSES OF INVALIDITY [Dkt. 88]
      OLEN PROPERTIES CORP., IGOR                 )
16                                                )
      OLENICOFF, JOHN LIANG, and                  )
17    DOES 1 through 10, inclusive,               )
                                                  )
18                                                )
                   Defendants.                    )
19                                                )
                                                  )
20                                                )
21
      I.    INTRODUCTION & BACKGROUND
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            This is the third of four lawsuits between these parties relating to a copyrighted
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      large-scale granite sculpture called Untitled that Plaintiff Donald Wakefield collaborated
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      in making with a man named Joseph Glickman in 1992. (Dkt. 1 [Complaint, hereinafter
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      “Compl.”] ¶¶ 16–17.) In the first lawsuit (“Wakefield I”), Plaintiff sued Defendants Olen
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      Properties Corp. (“Olen”) and Igor Olenicoff for copyright infringement after he found
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1     seven infringing copies of Untitled and other sculptures on Defendants’ properties. (Id.
2     ¶¶ 19–29.) Among other affirmative defenses, Defendants asserted that Plaintiff’s
3     copyright in Untitled was invalid. (Dkt. 88-4 [Declaration of Gene J. Brockland,
4     hereinafter “Brockland Decl.,” Ex. B, Defendants’ Wakefield I Answer].) The jury
5     disagreed:
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10    (Dkt. 88-5 [Brockland Decl. Ex. C, Wakefield I Verdict Form].) The jury further found
11    that Defendants copied Untitled and that Plaintiff suffered $450,000 in actual damages as
12    a result of the infringement of Plaintiff’s valid copyright. (Id. at Questions 2, 8.) The
13    court, Judge Andrew J. Guilford, ordered Defendants to return or destroy the infringing
14    copies. Wakefield v. Olenicoff, 2015 WL 1460152, at *10 (C.D. Cal. Mar. 30,
15    2015), aff’d in part, rev’d in part, 679 F. App’x 591 (9th Cir. 2017), cert. denied, 138 S.
16    Ct. 211 (2017) (ordering Defendants “to deliver to Plaintiff any and all infringing copies
17    of the copyrighted work, . . . or, to destroy all existing infringing sculptures within eight
18    months of receiving actual notice of this injunction”). The Ninth Circuit concluded that
19    the jury’s $450,000 award was supported by evidence and affirmed the court’s injunction
20    requiring Defendants to destroy the infringing sculptures. Wakefield v. Olenicoff, 679 F.
21    App’x at 592.
22

23          After the Wakefield I trial, Plaintiff sued Defendants again when he discovered that
24    Defendants had another infringing copy of Untitled on one of their other properties
25    (“Wakefield II”). (Compl. ¶¶ 31–33.) During Wakefield II, Mr. Olenicoff submitted an
26    affidavit that Defendants had removed all infringing copies of Untitled from their
27    properties. (Id. ¶ 35.) Plaintiff agreed to settle Wakefield II based in part on this
28    affidavit. (Id. ¶ 36.)

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1            Plaintiff then discovered two more infringing copies of Untitled displayed at
2     Defendants’ Florida properties. (Id. ¶¶ 37–39.) Based on this discovery, Plaintiff filed
3     this case (“Wakefield III”), alleging again that Defendants infringed his copyright in that
4     sculpture. Defendants’ answers in this case now1 contain affirmative defenses that
5     Plaintiff’s Untitled copyright is invalid and unenforceable. (Dkt. 84 [Olen Corp.’s
6     Answer and Counterclaim] at 14; Dkt. 85 [Olenicoff’s Answer and Counterclaim] at 14.)
7     Specifically, Defendants allege “the work is not an original work of authorship and
8     because the purported assignment [to Plaintiff of exclusive litigation rights relating to
9     Untitled] is invalid.” (Dkt. 84 ¶ 33.) Defendants also assert counterclaims for
10    declaratory judgment that Plaintiff’s copyright registration is invalid and unenforceable
11    and therefore cannot support an infringement claim. (Dkt. 84 ¶¶ 52–54; Dkt. 85 ¶¶ 52–
12    54.) Specifically, they allege that “the subject matter of the work was not copyrightable
13    because it lacked originality and was in the public domain” and that Plaintiff “was not the
14    true owner of a valid and enforceable copyright for Untitled.” (Dkt. 84 ¶¶ 50, 51.)
15

16           Now before the Court is Plaintiff’s motion to dismiss Defendants’ counterclaims
17    and to strike Defendants’ affirmative defenses relating to copyright invalidity. (Dkt. 88.)
18    For the following reasons, Plaintiff’s motion is GRANTED. 2
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        After Plaintiff filed this case, Defendants filed a new case (“Wakefield IV”) in state court, alleging that
21    Plaintiff violated the Wakefield II settlement agreement by filing Wakefield III and seeking, among other
      relief, an order enforcing the covenant not to sue in the settlement agreement. (Olen Properties Corp.,
22
      et. al. v. Wakefield, No. 8:22-cv-00928-CJC-DFM [Wakefield IV], Dkt. 1-2 [Complaint].) After
23    removing Wakefield IV to federal court, Plaintiff filed a motion to dismiss or stay the case because
      Defendants’ Wakefield IV claims are compulsory counterclaims in Wakefield III. (Id., Dkt. 8.) The
24    Court granted the motion and dismissed Wakefield IV, noting that the dismissal was without prejudice to
      Defendants moving to amend their Wakefield III answer to raise as counterclaims the claims they sought
25    to raise in Wakefield IV. (Id., Dkt. 16.) Defendants then moved for leave to file amended answers with
      amended affirmative defenses and to assert counterclaims for breach of the settlement agreement,
26
      specific performance of the settlement agreement, and declaratory judgment of copyright invalidity
27    against Plaintiff. (Dkt. 79.) The Court granted that motion. (Dkt. 83.)
      2
        Having read and considered the papers the parties presented, the Court finds this matter appropriate
28    for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
      for October 24, 2022, at 1:30 p.m. is hereby vacated and off calendar.
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1     II.    LEGAL STANDARD
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3            A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the legal
4     sufficiency of a plaintiff’s claims. The issue on a motion to dismiss for failure to state a
5     claim is not whether the plaintiff will ultimately prevail but whether the plaintiff is
6     entitled to offer evidence to support the claims asserted. Gilligan v. Jamco Dev. Corp.,
7     108 F.3d 246, 249 (9th Cir. 1997). Rule 12(b)(6) is read in conjunction with Rule 8(a),
8     which requires only “a short and plain statement of the claim showing that the pleader is
9     entitled to relief.” Fed. R. Civ. P. 8(a)(2). When evaluating a Rule 12(b)(6) motion, the
10    district court must accept all material allegations in the complaint as true and construe
11    them in the light most favorable to the non-moving party. Skilstaf, Inc. v. CVS Caremark
12    Corp., 669 F.3d 1005, 1014 (9th Cir. 2012). To survive a motion to dismiss, a complaint
13    must contain sufficient factual material to “state a claim to relief that is plausible on its
14    face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Determining whether a
15    complaint states a plausible claim for relief is “a context-specific task that requires the
16    reviewing court to draw on its judicial experience and common sense.” Ashcroft v. Iqbal,
17    556 U.S. 662, 679 (2009). Additionally, under Rule 12(f), “the court may order stricken
18    from any pleading any insufficient defense.”
19

20    III.   DISCUSSION
21

22           Plaintiff moves to dismiss the counterclaims for declaratory judgment of invalidity
23    and strike the affirmative defenses of invalidity on the ground that the claims and
24    defenses are barred by the doctrine of collateral estoppel, or issue preclusion. Issue
25    preclusion bars a party from relitigating an issue that the party has litigated and lost in a
26    prior proceeding. R.T.C. v. Keating, 186 F.3d 1110, 1114 (9th Cir. 1999). It “has the
27    dual purpose of protecting litigants from the burden of relitigating an identical issue with
28    the same party or his privy and of promoting judicial economy by preventing needless

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1     litigation.” Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979). Issue preclusion
2     applies when “(1) the issue necessarily decided at the previous proceeding is identical to
3     the one which is sought to be relitigated; (2) the first proceeding ended with a final
4     judgment on the merits; and (3) the party against whom collateral estoppel is asserted was
5     a party or in privity with a party at the first proceeding.” Reyn’s Pasta Bella, LLC v. Visa
6     USA, Inc., 442 F.3d 741, 746 (9th Cir. 2006) (citation omitted).
7

8           The doctrine of issue preclusion bars Defendants’ invalidity claims and defenses.
9     The issue presented here—the validity of Plaintiff’s copyright in Untitled—is identical to
10    the issue presented in Wakefield I. That issue was necessarily decided in Wakefield I,
11    because the jury could not have determined that Defendants infringed Plaintiff’s
12    copyright without deciding that Plaintiff’s copyright was valid. Wakefield I ended with a
13    judgment on the merits—the jury determined that Plaintiff’s Untitled copyright was valid
14    and that Defendants infringed it. (Dkt. 88-5 [Wakefield I Verdict Form].) That judgment
15    is final, as the Supreme Court denied certiorari. 138 S. Ct. 211. And Defendants, against
16    whom collateral estoppel is asserted, were both parties in Wakefield I. Additional
17    litigation on the question of whether Plaintiff’s Untitled copyright is valid would be a
18    waste of the parties’ and the Court’s resources. See Parklane Hosiery, 439 U.S. at 326.
19

20          Defendants do not meaningfully argue otherwise. Rather, they assert that
21    preclusion “cannot be unequally applied to Defendants,” and that Plaintiff “is likewise
22    estopped from bringing this action for the same claims and issues which he raised
23    previously in Wakefield I and Wakefield II.” (Dkt. 89 [Opposition] at 6.) But the issue
24    in this case of whether the Florida sculptures infringe Plaintiff’s Untitled copyright was
25    not decided in Wakefield I; the validity of Plaintiff’s Untitled copyright was.
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27    //
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1     IV.   CONCLUSION
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3           For the foregoing reasons, Plaintiff’s motion to dismiss and strike is GRANTED.
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5           DATED:      October 14, 2022
6                                                __________________________________
7                                                      CORMAC J. CARNEY
8                                                UNITED STATES DISTRICT JUDGE
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